Case:13-19032-MER Doc#:197 Filed:06/08/16 Entered:06/08/16 11:18:26 Pagel of 14.

wn 7 a aie)
DEBTOR: TEMY ve £ YVE TTC CU Ar Ser" MONTHLY OPERATING REPORT
CHAPTER 14
CASE NUMBER: | 4 “ iF CoD mefe
Form 2-4
COVER SHEET

For Period Ending 5 = af - / ©

Accounting Method: [ JaAcomai Basis [Micash Basis

THIS REPORT IS DUE 21 DAYS AFTER THE END OF THE MONTH
Debter must attach each of the following reporte/documents untess the Ll S. Trustee
nas waived the requirement inawtiiing. File the orginal with the Clerk of Court.

Mark One Box for Each
Submit duplicate, witn original signature, to the U.S. Trustee.

Required Documant:

Report Decument Previously
Attached REQUIRED REPORTSIDOCUMENTS

4, Cash Receipts and Disursements Siatement (Form =2-B)

2, Balance Sheet (Form 2-2)

3. Profit.and Loss Statement (Form2-D)
4, Supporting Schedules {Form 2-E)

5. Quarterly Fee Summary (Form 2-F)

§. Narrative (Form 2-G)

7. Bank Statements for All Bank Accounts

IMPORTANT: Redact account numbers and remove check images
-2. Bank Statement Reconciliations for al! Bank Accounts

WELLS FARGO + Lev fe cféS

awn we eA
ooooooook

f the following Monthiy Operating Report, and any

| declare under penalty of perjury tha
my knowledge and Deliet.

attachments thereto are true, accurate and correct to the best oF

o ye aoe
Executed om: $ LM. Print Name: AMEN HY Ev AW S$6r9

Signature:

 

 

Title: Mg

Rev, 12/10/2008
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DEBTOR: “7ErLY & Luperre [vars Ser) CASE NO: (3 /GOS2MER «

 

 

 

 

Form 2-B
CASH RECEIPTS Ss filie eS, SS pMe
For Period: S/3t/h
CASH RECEIPTS DETAIL AccountNo: | _ : a |
(attach additional sheets as necessary)
| Date { Payer | { Desenpiion | | Amount |

 

BH A. =
, Ve ay

Boson og,

Total Cash Receipts $ j ! L/S. Gf_(1)

Page 2 of 3

total cash receipts listed on Form 2-E, page 7
i Rey, 1290270

(1) Total for aff account shauld agree with
Case:13-19032-MER Doc#:197 Filed:06/08/16 Entered:06/08/16 11:18:26 Page3 of 14

DEBTOR: Fenty ¢ Lywérré Eventbon CASENO: [3- (7039. mere .

Form 2-8
CASH RECEIPTS A D DISBURSEMENTS STATEMENT
For Period: q / /{lie i0 STILLLE

CASH DISBURSEMENTS DETAIL Account Neo: 35 76

(attach additional sheets as necessary)

Date | [Check No. | | Payee | [| __Deseription (Purpose) | i
$3

Amount _|
joa @
/ , —t
bes 3/0."
{56.5

pon yro * 25
dL Pua ©
uae : on

. G0.

i St)
D toon k ye
pm ———,

 

Breenine

Total Cash Disbursements 86 9 {746 "")

Page 3 af 3

Total for all accounts should agree with total cash disbursements listed on Form 2-E, page 7
Rew. 12/10/2002

(4)
Case:13-19032-MER Doc#:197 Filed:06/08/16 Entered:06/08/16 11:18:26 Page4 of 14

CASE NO: j/3-/903 amex

DEBTOR: TE * [ Yu ETTE Evte) S00
Form 2-3
CASH RECEIPTS AND Rt ‘ATEMENT
For Period: Sli Mute S L3t le:

 

 

 

 

 

 

 

 

 

 

CASH FLOW SUMMARY Gurrent
Month Accumulated
vg ol
4, Beginning Cash Balance 53 47079F — 1) 3 _
‘2. Cash Receipts . ay
Operations GF oF —
‘Sale of Assets YL,
Loans/advances / G3 Or
Other we
flo, be
3. Cash Disbursements nn DO
Operations Zz b 5 " oo.
Debt Service/Secured loan payment , tt
Professional fees/US. Trustee fees P-2I4
Other
Total Cash Disbursements 3 3 Si2z 4 =
_4. Net Cash Flow (Total Cash Receipts less sau VS
Total Cash Disbursements) 5 1§. ">
(72, 4
3 Ending Cash Balance (to Form2-0) = — 2) 3 (2)
CASH BALANCE SUMMARY Book
Financial Insittution Balance
Petty Cash = 44
ao Oy GQ or
DIP Operating Accouni bth Saree pT We } 17 a
U
DIP State Tax Account
DIP Payroll Account
Other Operating Account
Other interest-bearing Account
TOTAL (must agree with Ending Cash Balance above) s 7472. F7._(2)
(1) Accumulated beginning cash balance is the cesh available at the commencement or the case.
revious month's ending Balance. Page 1 af 3

Current month beginning cash baiance should egual the p:

(2) Alf cash balances should be the sane. Rev. 12/10/2008
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DEBTOR: Tet hw Ere Evansere CASE NO: (3- (GOS 2/MER.
Form 2-¢
COMPARATIVE BALANCE SHEE
For Period Ended: £ /3/ Ie
? Current Petition
ASSETS Month Date (4)
Current Assets:
S >

Cash (fram Form 2-B, line 5)
Accounts Receivable (from Form 2-—)
Receivable from Officers, Employees, Affiiates
inventory

Other Current Assets :(Lisf)

 

 

 

ff

Total Currant Assets 3

Fixed Assets:
Land
Building
Equipment, Fumiture and Fixtures

Total Fixed Assets
Less: Accumulated Depreciation (

Net Fixed Assets $s
Other Assets (List):

 

 

 

 

 

TOTAL ASSETS = U/ $

LIABILITIES
Post-petition Accounts Payable (irom Form 2-5)
Posi-petition Accrued Profesional Fees {irom Form 2-E)
Posi-pstition Taxes Payable {irom Form 2-5}
Posi-petition Notes Payable
Other Pesi-petition Payable(List):

 

 

Total Post Petition Liabilities

Pre Patition Liabilities:
Secured Debt
Priority Debt
Unsecured Debt

 

Total Pre Petition Liabilities ' $
TOTAL LIABILITIES

OWNERS EQUITY
Owners/Steckholders Equity
Retained Earmings - Prepetition
Retained Eamings - Posi-petittion

TOTAL OWNERS’ EQUITY 3 z£
TOTAL LIABILITIES AND OWNERS’ EQUITY 5 Ce $

 

 

Page 1 af 1
Rev. 12/10/2005

(1) Petition date values are taken fram the Debtor's balance sheat as of the petition date or are the values

listed on the Debtor's schadutes.
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DESTOR: Teney ely err Evanied CASENO: /3-/9o2 2/7 EK.
Form 2-D

PROFIT AND LOSS STATEMENT,
cerpetod S/Mbto S/o

 

 

Current Accumulated
Month Total (1)
Gross Operating Revenue gs Y 5 C7: 5
Less: Discounts, Returns and Allowances ( o } (
Net Operating Revenue $ FSbF- 5
Cost af Goods Sold 7 ——
a
Gross Profit S F&CF. oes Eni
Operating Expenses
Officer Compensation = 3
Selling, General and Administrative
Rents-and Leases

Depreciation, Depletion and Amortization

Other (list): 349%

 

 

 

 

ake
Total Operating Expenses 5 36 SF — 3
0 TF
Operating Income {Loss} 5 (ol IV —
Non-Operating Income and Expenses
Other Non-Operating Expenses 5 $s
Gains (Losses) on Sale of Assets
interest Income
Interest Expense
Other Non-Operating Income
Net Non-Operating Income or (Expenses) 3 Ge 3.
Reorganization Expenses
Legal and Professional Fees 5 3
Other Reorganization Expense
Tota! Reorganization Expenses $
Net Income (Loss) Before Income Taxes s Gl )
Federal and State income Tax Expense (Benefit)

NET INCOME (LOSS) s G(§0- $

(ft) Accumulated Tots include al! revenue anc expenses since the pefitian date.

 

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DEBTOR: “Jelity y Love Ere LvpntSow CASE NO: /% -1/9032 NE:

Form 2-E
SUPPORTING SCHEDULES /
For Period: chilly SlapMC
C fi ‘

POST PETITION TAXES PAYABLE SCHEDULE

Chesk ‘Ending

Beginning Amount Amount Date
Balance

Balance (tf) Accrued Paid Paid Number

income Tax Withheld:
Federal 3s 3 $ 3
State
FICA Tax Withheld
Employer's FICA Tax
Linempiayment Tax
Federal
Siate

Sales, Use &
Excise Taxes

Property Taxes

Accrued Income Tax:
Federal

State a
Other. Cy

3

 

TOTALS 3 3 3

(t) For first report, Beginning Balance will be $0: thereafter, Beginning Balance wil! be Ending Balance from prior report

INSURANCE SCHEDULE
—— Premium
Carrier Amountof Expirabon Paid
Coverage Date Through
Workers’ Compensation 3 $
General Liability , 5 . $ /
Property (Fire, Theft} blomwe— 7 Baden $ 2/\ 7 $ 2/1 7
Vehicle (Mite SD “dpe 3 (of(@ ¢ ff lie
Other (list): $ &
$ §
Page j of 2

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DEBTOR: Jewlyy L iiueod Levin Sou! CASENO: (2 1903AmEX,

Form 2-E
. Sey jj
sor Periot:_S // Mia 0 SSUMG.
A 2 tT 7

ACCOUNTS RECEIVABLE AND POST PET. ITION PAYABLE AGING

Accounts Post Petition
Due Receivable Accounts Payable
3 $

Under 30 days
38 to 60 days
6110 90 days
$1 to 120 days
Over 120 days

Total Post Petition

|

Pre Petition Amounts
Total Accaunts Receivable

Less: Bad Debt Reserve
Nat Accounts Receivable (to Form 2-0} 3

S
Total Pest Petition
Accounts Payable = —

* Attach 2 detail listing of accounts receivable and post-petifion account payable

 

 

 

 

SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER PROFESSIONALS

Month-end Surrent Paid in

‘Retainer Month's Current Date of Month-end

Balance Acenzal Month Court Approval Balance Due*
Debtors Counsel! $ $ + 5

Counse! for Unsecured
Creditors’ Commitiee
Trusies's Counsel

Accoumtant —f
Other: | ao
Total 3 s 5 5 7

"Balance due to include fees and axpanses Incurred but not yet paid.

 

SCHEDULE OF PAYMENTS AND TRANSFERS TO PRINCIPALS/EXECUTIVES™

Payee Name Posifian Nature of Payment Amount
5

 

 

List payments and transfers of any kind and In any form made to or for the benefit of any propristor, owner,

partner, shareholder, offiear or director. Page 2 of2

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EBTOR: TEmey ef YN ETTE Lvwws on)

 

 

 

 

QUARTERLY FEE SU
For the Month Endea:

MIMARY *
5 ANC ‘

CASENO: /3-/9032H1Ex .

 

 

 

 

 

 

 

 

 

Quarterly Bate
Month Year Dishursements ** Fee Due Check No. Paid
January $
February
March
enema ct
TOTAL ‘4st Quarter $ :
aay Of
April of
May oh, es
June
mere at
TOTAL 2nd Quarter = §
Juby 3
August
September
i
TOTAL Sri Quarter $ -
October 3
November
December
= ve ergs amasaneremmtt
TOTAL4th Quarter $3 3
——————
FEE SCHEDULE fas of JANUARY 1, 2008)
Subiect to changes that may occur tp 28 U.S.C. §1830(a}(6)
Quarterly Disbursements Fee Quarteny Disbursements Eee
SO to $14,999... eeeeeneee $325 $7,000,000 to 51,992,808... $6,500
$15,000 to $74,989........-. $650 $2,000,000 to $2,998,999... $9,750
$75,000 to. $449,998... $975 $3,000,000 to $4,999,999.__........ $10,400
$150,000 to $224,999...... $1,625 $6,000,000 to $14,999,999 ....... $73,000
$225,009 to $298,999... $1,250 $15,000,000 to $28,998,998... $20,000
$300,000 to $999,900... 34,875 $30,000,000 or more $30,000

 

 

+ This summary is to reflect the current calendar yea

= Should agree with line 3, Form 2-8. Disbursements are nat of transfers to 0

Failure to pay the quartery fee is cause for convarsion or dismissal of the chapte
in addition, unpaid fees are considered a debt owed to the United States anc will

rs information cumulative to the end of the reporting period

ther debtor in pessession bank accounts

r44 case. ff7 USC. Sac. 1172fDY10))
be assessed infarest under 37 U.S.C. §3777

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Rev. 12/10/2009

 
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=sTOR: 7Enhy t+ [ ywerre Evarten CASENO:_/ 37/FOSAIMER:

Form 2-5

NARRAT
For Period Ending Me

Please provide.a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the financial statements, and any significant changes in the financial condition of the debtor which have occurred

subsequent to the report date.

—

 

 

 

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Rev. 724n/2085

 
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Wells Fargo Online®
Account Activity

WELLS FARGO AT WORK(SM) CHECKING XXXXXX3576

Activity Summary

 

   

 

c d Balance $9,972.49
Pending Withdrawals! Debits -$253.50
Pending Deposits/ Credits $0.00

Available Balance $9,718.99

     

The Available Balance shown above reflects the most up-to-date information available on your account. The balances shown below next to the last transaction of each day do not
reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when the transaction posted. If you had insufficient available funds
when the transaction posted to your account, fees may have been assessed.

Transactions
Show: for Date Range 05/01/16 to 05/31/16

 

Date 4 Description Deposits / Credits | Withdrawals / Debits | Ending Daily
: Balance

 

 

 

: Pending Transactions Note: Debit card transaction amounts may change
_ No pending transactions meet your criteria above.

. Posted Transactions

05/31/16 PURCHASE AUTHORIZED ON 05/30 SAMSCLUB #6634 LITTLETON SE CO $31.09 $9,972.49 ;
$386151817033977 CARD 4079 i :

 

 

05/31/16 © PURCHASE AUTHORIZED ON 05/30 SAMS CLUB SAM'S Club LITTLETON SE $42.37
» CO PO0000000853681198 CARD 4079
5/31/16 PURCHASE AUTHORIZED ON 05/30 SPROUTS FARMERS MKT#31 HIGHLANDS © $32.72

_ RAN CO P00306151800393923 CARD 4079

 

05/31/16 =PURCHASE AUTHORIZED ON 05/27 LOCO 17 GAS FRUITA CO i $20.85
$386149006678539 CARD 4079 ; i

05/31/16 PURCHASE AUTHORIZED ON 05/27 ARBYS 7214 GREEN RIVER UT : i $11.40
$466148627717584 CARD 4079 i J

 

05/31/16 © PURCHASE AUTHORIZED ON 05/27 SAMSCLUB #6685 PROVO UT i I $14.97
_ $306148746097035 CARD 4079 i

05/31/16 | PURCHASE AUTHORIZED ON 05/26 SLC PARKING STATIO SALT LAKE CIT UT : $4.00
. $386147711242022 CARD 4079

O5/3116 eDeposit in Branch/Store 05/31/16 03:18:27 PM 8677 S QUEBEC ST HIGHLANDS $1,761.00 ©
» RANCH CO 4079

Os5/2716 PURCHASE AUTHORIZED ON 05/26 SPORTS AUTHORITY 0321 OREM UT ; $79.49 $8,368.89
P00306148104999068 CARD 7458 ; i

05/27/16 PURCHASE AUTHORIZED ON 05/26 SAMS CLUB #6685 PROVO UT $34.37 |
- §006148091921325 CARD 4079

05/2716 = PURCHASE AUTHORIZED ON 05/26 CHENS NOODLE HOUSE OREM UT : i $33.68
_ $306147856163271 CARD 4079 j } i

05/27/16 PURCHASE AUTHORIZED ON 05/26 CAFE ZUPAS PROVO PROVO UT $22.38
$586147662759103 CARD 4079 i

 

 

 

 

 

 

05/27/16 PURCHASE AUTHORIZED ON 05/25 TA GRAND JUNCTION GRAND JUNCTIO $7.73 ©
CO $306147048569995 CARD 4079 i :
05/27/16 PURCHASE AUTHORIZED ON 05/26 TA GRAND JUNCTION GRAND JUNCTN $27.83
/ CO $586147046462047 CARD 4079 : i
08/27/16 = =©§ PURCHASE AUTHORIZED ON 05/26 OUTBACK 0821 GRAND JUNCTIO CO $15.97
_ $306147039367847 CARD 4079 i i i
05/27/16 BENFITHLTHADS5 TRANSACTIO EVANSON TERRY TERRY EVANSON $1,135.46
05/26/16 PURCHASE AUTHORIZED ON 05/26 SPROUTS FARMERS MKT#60 OREM UT $52.96 - $7 454.88

P00306147851545249 CARD 4079

05/26/16 PURCHASE AUTHORIZED ON 05/25 SAMS CLUB #6634 LONE TREE CO $13.46
$286146643813113 CARD 4079

05/24/16 =3©§ PURCHASE AUTHORIZED ON 05/24 STAPLES 1445 HIGHLANDS RAN CO $11.01 $7,521.30
, PQ0586145833593005 CARD 4079

05/24/16 PURCHASE AUTHORIZED ON 05/23 SAMS CLUB #6634 LONE TREE CO : $27.28
$006 144517948486 CARD 4079 j

05/23/16 CHECK # 150 $325.00 $7,559.59

https://online. wellsfargo.com/das/cgi-bin/session.cgi?sessargs=2RtORKebBCj1xOLK6PKu... 6/2/2016
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Date 2 Description Deposits / Credits Withdrawals / Debits Ending Daily
Balance

 

 

 

 

05/23/16” PURCHASE AUTHORIZED ON 05/23 SAM'S Club LITTLETON SE CO
' Pocoeong00s 1461719 CARD 407s

$29.57

 

05/23/16 PURCHASE AUTHORIZED ON 05/21 KING SOOPERS 7296 LAGA CASTLE | $17.10
_ PINES CO P00386142682711155 CARD 7458 |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

05/23/16 PURCHASE AUTHORIZED ON 05/21 SPROUTS FARMERS MKT#30 CASTLE $18.72
ROCK CO P00466142672845016 CARD 7458
05/23/16 PURCHASE AUTHORIZED ON 05/21 SAM'S Club LITTLETON SE CO i $21.42 |
P00000000040610790 CARD 7458 i
05/23/16 PURCHASE AUTHORIZED ON 05/21 Wal-Mart Super Center HIGHLANDS RAN $14.90 |
CO P00000000442383241 CARD 7458
05/23/16 PURCHASE AUTHORIZED ON 05/20 SAMSCLUB 6634 GAS LONE TREE CO $32.85
$306141552393250 CARD 7458
05/23/16 ©§ PURCHASE AUTHORIZED ON 05/19 CLINIX HEALTH SERV CENTENNIAL CO $10.00
. $466140698035251 CARD 4079 :
05/23/16 = PURCHASE AUTHORIZED ON 05/19 M & M CUT FLORA DENVER CO i $319.35
| $586140588525983 CARD 7458 ;
05/23/16 © PURCHASE AUTHORIZED ON 05/19 M & M CUT FLORA DENVER CO $592.65
$386140587471457 CARD 7458 i
05/23/16 PURCHASE AUTHORIZED ON 05/19 TLF ASSOC WHOLESAL 303-4551234 CO ; $116.75
$308140526059322 CARD 7458 i
05/20/16 PURCHASE AUTHORIZED ON 05/20 SAM'S Club LITTLETON SE CO i $101.33 $9,057.90
P00000000459591503 CARD 7458 i
05/2016 ©9= PURCHASE AUTHORIZED ON 05/20 SPROUTS FARMERS MKT#30 LONE TREE i $23.43 ©
» CO P00386141525496457 CARD 7458 i
05/20/16 PURCHASE AUTHORIZED ON 05/20 KING SOOPERS 1375 S. B LOUISVILLE CO $100.87
_ P00306141515569631 CARD 4079
05/20/16 PURCHASE AUTHORIZED ON 05/19 FLORAL SUPPLY SYND DENVER CO $19.00
$466140600557297 CARD 7458 ;
05/20/16 PURCHASE AUTHORIZED ON 05/19 FLORAL SUPPLY SYND DENVER CO $130.00
$586 140556650304 CARD 7458
05/19/16 INTEREST PAYMENT j $0.03 $9,432.53
05/19/16 HUMANA, INC. INS PYMT 160517 235174141002235 174165 i 380.96
05/19/16 PURCHASE AUTHORIZED ON 05/19 JETRO HOLDINGS LLC GREENWOOD VIL i $53.59 |
CO P00306140641774444 CARD 7458 i :
05/19/16 PURCHASE AUTHORIZED ON 05/18 SAMS CLUB #6634 LONE TREE CO i $29.73 |
$286139516715110 CARD 4079 i i
05/18/16 SSA TREAS 310 XXSOC SEC 051816 XXXXX9483B SSA LYNETTE P EVANSON $795.00 $9,596.78
05/17/16 PURCHASE RETURN AUTHORIZED ON 05/17 TARGET T- 10001 Common Lone $16.21 $8,801.78 |
Tree CO P00000000344965032 CARD 7458 ; i
05/17/46 © PURCHASE AUTHORIZED ON 05/17 SAM'S Club LITTLETON SE CO $84.99
| P00000000345533646 CARD 7458 i
OS/M7M16 PURCHASE AUTHORIZED ON 05/17 COSTCO WHSE #0468 LONE TREE CO i $30.18
' P00466138689053979 CARD 7458 j
O5/7N6 PURCHASE AUTHORIZED ON 05/17 SPROUTS FARMERS MKT#30 LONE TREE : $47.20
CO P00586138638002172 CARD 7458 ; i
05/17/16 PURCHASE AUTHORIZED ON 05/17 700 S. Perry St. Castle Rock CO i $9.33 :
P00306138592987669 CARD 4079 i :
05/17/16 = PURCHASE AUTHORIZED ON 05/16 KING SOOPERS 400 RED C HIGHLANDS i $19.98
» RAN CO P00386138138593150 CARD 4079 i
05/7/16 © PURCHASE AUTHORIZED ON 05/16 SAMSCLUB #6634 LITTLETON SE CO i $27.13
_ $586137485927116 CARD 4079 j
05/16/16 PURCHASE AUTHORIZED ON 05/16 Wal-Mart Super Center HIGHLANDS RAN $120.41 $9,004.38
CO PQ0000000540941804 CARD 7458 i
0516/16 PURCHASE AUTHORIZED ON 05/14 SAMSCLUB #6834 LONE TREE CO $101.89
P00000000150133828 CARD 7458
05/16/16 ©§= PURCHASE AUTHORIZED ON 05/14 COSTCO WHSE #0468 LONE TREE CO $100.83
» P00466135601 179182 CARD 7458 i
0546/16 = PURCHASE AUTHORIZED ON 05/14 OUTBACK 0621 GRAND JUNCTIO CO F $23.43
$306135062090660 CARD 407¢
05/16/16 PURCHASE AUTHORIZED ON 05/14 TA GRAND JUNCTION GRAND JUNCTN $23.62
CO $386135053728603 CARD 4079 i
05/16/16 PURCHASE AUTHORIZED ON 05/13 SAMSCLUB #6685 PROVO UT $36.66
$306134800338787 CARD 4079
O516/6 — : $43.82

https://online. wellsfargo.com/das/cgi-bin/session.cgi?sessargs=2Rt0RKebBCj1xOLK6PKu... 6/2/2016
Wads: Haram dsoommtActhyee4-197 Filed:06/08/16 Entered:06/08/16 11:18:26 Pag@asect a4

 

Date é Description Deposits / Credits Withdrawals / Debits Ending Daily
i Balance

 

 

 

PURCHASE AUTHORIZED ON G5/13 FONG ASIAN DINING PLEASANT GROV
UT $3081347 17605189 CARD 4079

 

 

PURCHASE AUTHORIZED ON 05/12 KNEADERS OF DRAPER DRAPER UT $7.33

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O5/16/16 |
: $466133715478662 CARD 4079
05/16/16 PURCHASE AUTHORIZED ON 05/12 CAFE RIO AMERICAN AMERICAN FORK i $9.80
UT $386133620626463 CARD 7458 i i
O5/16/16 eDeposit in Branch/Store 05/16/16 04:10:11 PM 8677 S QUEBEC ST HIGHLANDS $5,895.00
RANCH CO 4079
05/13/16 Shelf Reliance Home Party 2327 Lynette P Evanson $40.05 $3,577.17 5
05/12/16 PURCHASE AUTHORIZED ON 05/12 SHELL Service Station SANDY UT $4.73 $3,537.12
» P0Q0306133860982541 CARD 40739
05/12/16 PURCHASE AUTHORIZED ON 05/11 CAFE ZUPAS PROVO PROVO UT $31.96
$306133074904123 CARD 4079 :
05/12/16 PURCHASE AUTHORIZED ON 05/11 SAMSCLUB #6634 LITTLETON SE CO i $8.84
$586132672436710 CARD 4079 : j
05/11/16 TRANSAMERICA INS INSPAYMENT 37L/A 0842083752 EVANSON,LYNETTE OR j $49.44 $3,582.65
TER i
05/11/16 PURCHASE AUTHORIZED ON 05/11 PILOT #592 GRAND JUNSTIO CO $25.63 |
i P00586 132800204617 CARD 4079 i
05/1116 |= PURCHASE AUTHORIZED ON 05/10 SAMS GLUB #6634 LONE TREE CO $41.00 |
$166131565967244 CARD 7458 i i
O5/11/16 PURCHASE AUTHORIZED ON 05/10 BLACK EYED PEA LAKEWOOD CO : : $11.66 :
- $386131002700217 CARD 4079
O610/6 © PURCHASE AUTHORIZED ON 05/10 SAMS CLUB SAM'S Club LITTLETON SE : $47.12 $3,710.38
» CO P00000000156051973 CARD 4079 ; :
05/10/16 = PURCHASE AUTHORIZED ON 05/10 KING SOOPERS 400 RED C HIGHLANDS ~ : $21.53
: RAN CO P00386131648047788 CARD 7458 i
05/10/16 PURCHASE AUTHORIZED ON 05/09 TIME PARK LOT 7 DENVER CO $14.00
$386130753934455 CARD 4079 i
05/09/16 PURCHASE AUTHORIZED ON 05/09 SAM'S Club LITTLETON SE CO ; i $323.78 : $3,793.03 |
i Po0000000050005388 CARD 7458 : : i
05/09/16 i PURCHASE AUTHORIZED ON 05/08 OUTBACK 0626 CASTLE ROCK CO ‘ $38.86 —
| $466129041795868 CARD 4078 i i
05/06/16 LDS CHURCH DONATION 160506 8726499 EVANSON TERRY LEE ; $520.00 $4,155.67
05/06/16 PURCHASE AUTHORIZED ON 05/05 BART G CHRISTIANSE CENTENNIAL CO $300.00
- §006126702657006 CARD 4079
O5/0616 i PURCHASE AUTHORIZED ON 05/04 SPROUTS FARMERS MA CASTLE ROCK i $6.22
_ CO $30812580031 1068 CARD 7458 i f
O5/06/16 | eDeposit in Branch/Store 05/06/16 04:52:31 PM 8677 S QUEBEC ST HIGHLANDS ~ $2,173.16
_ RANCH CO 4079 :
OS5/05/16 i SAFECO INSURANCE INS PREM 051016 71077376730 TERRY EVANSON i $342.75 $2,808.73 :
05/05/16 PURCHASE AUTHORIZED ON 05/04 SAMSCLUB 6634 GAS LONE TREE CO i $29.50
_ §306125776081145 CARD 4079 :
i o6/05/16 =PURCHASE AUTHORIZED ON 05/04 UNITED PACIFIC 074 HIGHLNDS RNCH $8.92
: i CO $5861257 15431299 CARD 7458 :
05/05/16 § PURCHASE AUTHORIZED ON 05/04 WALGREENS #07837 CASTLE ROCKCO $36.85 -
- $466125623807822 CARD 7458 : i
05/04/16 PURCHASE AUTHORIZED ON 05/02 GENGHIS GRILL DENV CENTENNIAL CO : i $22.68 $3,226.75 |
$466123681559486 CARD 4079 i :
05/03/16 © DISH NETWORK DISH NTWRK 043016 9060370845 SPA EVANSON, TERRY i $131.67 $3,249.43
05/03/16 PURCHASE AUTHORIZED ON 05/02 UNITED PACIFIC 654 LONE TREE CO $9.06
| $586123830275532 CARD 4079
05/02/16 TRANSAMERICA INS INSPAYMENT 37L/A 0841730089 EVANSON, TERRY AND | $107.19 $3,390.16
LYN
05/02/16 PURCHASE WITH CASH BACK $ 40.00 AUTHORIZED ON 05/02 SAMSCLUB $130.50 |
#6634 LONE TREE CO P00000000754515807 CARD 7454 f
05/02/16 : PURCHASE AUTHORIZED ON 04/30 SHELL Service Station HIGHLANDS RAN $4.44
» CO P00386122187845844 CARD 4079
05/02/16 PURCHASE AUTHORIZED ON 04/30 SAMS CLUB SAM'S Club LITTLETON SE $74.03 -
CO P00000000147080336 CARD 7458 1
o5/02/16 PURCHASE AUTHORIZED ON 04/29 SPROUTS FARMERS MA CASTLE ROCK $12.42
CO $386120863081549 CARD 4079
05/02/16 PURCHASE AUTHORIZED ON 04/28 TLF ASSOC WHOLESAL 303-4551234 CO $116.55

| $386119762117466 CARD 7458

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Date é Description Deposits / Credits Withdrawals / Debits — Ending Daily i
Balance

 

 

 

05/02/16 ~~” PURCHASE AUTHORIZED ON 04/27 TLF ASSOC WHOLESAL 303-4551234 60"
_ $308118689333769 CARD 7458

 

 

 

Totals $11,815.91. $5,917.46

 

 

 

Deposit products offered by Wells Fargo Bank, N.A. Member FDIC. Wells Fargo Bank, N.A. is a banking affiliate of Wells Fargo & Company

 

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